CaSe 2:19-CV-00885-PSG-G.]S Document 9 Filed 02/06/19 Page 1 of 2 Page |D #:33

AO 440 (Rev. 06/12) Summons in a Civil Actioo

UNITED STATES DISTRICT COURT

 

 

for the
Central District of Ca]ifornia
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)
vERRAGIo, LTD_ )
PIainn_H`(s) )
v. § civil Acti<m No_ 2119£\/_885 _PsG-G}Sx
)
)
KARIN APRAHAMIAN fka KARIN )
BABAPILAVIAN dba KAR]N'S COLLECTIONS )
Defendant(s) )

SUMMONS IN A CIV]I. ACTION

TOI (quendant 's name and address)
Karin Aprahamian fka Karin Babapilavian dba Karin's Collections
3220 Altura Ave.. #123
La Crescenta, CA 91214

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiH or plaintiffs attorney,
whose name and address are:

'I'UCKER ELLIS LLP
Howard A. Kroll

515 South Flower Street
42nd Floor

Los Angeles, CA 90071

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 2/6/2019 \_/éA/WM, KM,{@)

 

 

 

S:'gnamrs ¢JClerk or Deputy Clerk

Am¢rinn I.egalNet, lm.

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Civil Action No. 2:19-cv-885

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

m$ SUIIl!l]OIlS fOI` (name of individual and title, ifany)

 

Was received by me on (dare)

 

\:\ I personally served the summons on the individual at @lace)

 

011 (date) 1 01'

 

\:\ I left the summons at the individual’s residence or usual place of abode with (name)

. a person of suitable age and discretion who resides there.

 

on (dare) , and mailed a copy to the individual’s last known address; or

I:] I served the summons on (name ofindiwdual) , who is

designated by law to accept service of process on behalf of (name ofmganizarion)

 

 

 

011 (date) § Of
\:I I returned the sunnnons unexecuted because ; or
|:i thef (speelfj)):
My fees are $ for travel and $ for services. for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server 's address

Additional information regarding attempted service. etc:

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